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1    JOSEPH H. HUNT
     Assistant Attorney General
2    Civil Division
     GUSTAV W. EYLER
3
     Acting Director
4    KENDRACK D. LEWIS
     Trial Attorney
5    Consumer Protection Branch
     U.S. Department of Justice,
6    Civil Division
7    P.O. Box 386
     Washington, DC 20044-0386
8    Telephone: (202) 353-3881
     Fax: (202) 514-8742
9    kendrack.lewis@usdoj.gov
10   MONIQUE F. EINHORN
11   RYAN M. MEHM
     Attorneys
12   Federal Trade Commission
     600 Pennsylvania Avenue, NW
13   Washington, DC 20580
     Telephone: (202) 326-3289
14   meinhorn@ftc.gov
15   rmehm@ftc.gov

16
     Attorneys for Plaintiff
17                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
18
19                                           SAN JOSE DIVISION

20

21       UNITED STATES OF AMERICA,                     Case No. 5:19-cv-2222

22                       Plaintiff,
                   vs.
23                                                     [Proposed] STIPULATED ORDER FOR
      UNIXIZ, Inc., a corporation doing business       CIVIL PENALTIES, PERMANENT
24      as i-Dressup.com, and                          INJUNCTION, AND OTHER RELIEF

25    ZHIJUN LIU and XICHEN ZHANG,
        individually and as officers of UNIXIZ,
        Inc.
26
                         Defendants.
27

28
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1

2           Plaintiff, the United States of America, acting upon notification and on behalf of the

3    Federal Trade Commission (“Commission”), filed its Complaint for Permanent Injunction and
4    Other Equitable Relief (“Complaint”), in this matter, pursuant to Sections 13(b) and 16(a)(1) of
5
     the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 56(a)(1), the Children’s
6
     Online Privacy Protection Act, 15 U.S.C. §§ 6502(c) and 6505(d), and the Commission’s
7
     Children’s Online Privacy Protection Rule (“COPPA Rule”), 16 C.F.R. Part 312. Defendants
8

9    have waived service of the summons and the Complaint. Plaintiff and Defendants stipulate to

10   the entry of this Stipulated Order for Permanent Injunction and Civil Penalty Judgment (“Order”)

11   to resolve all matters in dispute in this action between them.
12          THEREFORE, IT IS ORDERED as follows:
13
                                                 FINDINGS
14
        1. This Court has jurisdiction over this matter.
15
        2. The Complaint charges that Defendants violated COPPA and the FTC Act by failing to
16

17          include information required by COPPA in i-Dressup’s notice of information practices;

18          failing to provide sufficient direct notice of their information practices to Parents; failing

19          to Obtain Verifiable Parental Consent; and failing to delete Online Contact Information
20
            of a Parent after having failed to obtain consent.
21
        3. Defendants neither admit nor deny any of the allegations in this Complaint, except as
22
            specifically stated in this Order. Only for purposes of this action, Defendants admit the
23
            facts necessary to establish jurisdiction.
24

25      4. Defendants waive any claim they may have under the Equal Access to Justice Act, 28

26          U.S.C. § 2412, concerning the prosecution of this action through the date of this Order,
27          and agree to bear their own costs and attorney fees.
28
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1       5. Defendants and Plaintiff waive all rights to appeal or otherwise challenge or contest the
2          validity of this Order.
3
                                             DEFINITIONS
4
           For the purpose of this Order, the following definitions apply:
5
        A. “Child” or “Children” means an individual or individuals under the age of 13.
6

7       B. Except for purposes of Parts III and IV of this Order, “Collects” or “Collect” or

8          “Collection” or Collected” or “Collecting” means the gathering of any Personal

9          Information from a Child by any means, including but not limited to:
10             1. Requesting, prompting, or encouraging a Child to submit Personal Information
11
                   online;
12
               2. Enabling a Child to make Personal Information publicly available in identifiable
13
                   form; or
14

15             3. Passive tracking of a Child online.

16      C. “Covered Incident” means any instance in which any United States federal, state, or local

17         law or regulation requires a Covered Business or Individual Defendant to notify any U.S.
18
           federal, state, or local government entity that information Collected or received, directly
19
           or indirectly, by a Covered Business from or about an individual consumer was, or is
20
           reasonably believed to have been, accessed or acquired without authorization.
21
        D. “Covered Business” means Corporate Defendant and any business that Individual
22

23         Defendants, individually, collectively, or in any combination, control, directly or

24         indirectly.
25

26
27

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1       E. “Covered Information” means any “Personal Information” as defined in this Order and
2          any of the following individually identifiable information from or about an individual
3
           consumer, obtained online, including:
4
               1. Date of Birth;
5
               2. Other government-issued identification numbers, such as a driver’s license
6

7                   number, military identification number, passport number, or other personal

8                   identification number;

9              3. Financial institution account number;
10             4. Credit or debit card information; or
11
               5. Authentication credentials, such as a username or password.
12
        F. “Defendants” means all of the Individual Defendants and the Corporate Defendant,
13
           individually, collectively, or in any combination.
14

15             1.   “Corporate Defendant” means Unixiz, Inc., d/b/a i-Dressup.com, and its

16                  successors and assigns.

17             2. “Individual Defendants” means Zhijun Liu and Xichen Zhang.
18
        G. Except for purposes of Part VII of this Order, “Disclose” or Disclosure” or “Disclosed”
19
           means, with respect to Personal Information:
20
               1. The release of Personal Information Collected by an Operator from a Child in
21
                    identifiable form for any purpose, except where an Operator provides such
22

23                  information to a Person who provides Support For The Internal Operations Of

24                  The Web Site Or Online Service; and
25             2. Making Personal Information Collected by an Operator from a Child publicly
26
                    available in identifiable form by any means, including but not limited to a public
27

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1                 posting through the Internet, or through a personal home page or screen posted on
2                 a Web site or online service; a pen pal service; an electronic mail service; a
3
                  message board; or a chat room.
4
        H. “Internet” means collectively the myriad of computer and telecommunication facilities,
5
           including equipment and operating software, which comprises the interconnected world-
6

7          wide network of networks that employ the Transmission Control Protocol/Internet

8          Protocol, or any predecessor or successor protocols to such protocol, to communicate

9          information of all kinds by wire, radio, or other methods of transmission.
10      I. “Obtaining Verifiable Parental Consent” or “Obtain Verifiable Parental Consent” means
11
           making any reasonable effort (taking into consideration available technology) to ensure
12
           that before Personal Information is Collected from a Child, a Parent of the Child:
13
               1. Receives notice of the Operator’s Personal Information Collection, use, and
14

15                Disclosure practices; and

16             2. Authorizes any Collection, use, and/or Disclosure of the Personal Information.

17      J. “Online Contact Information” means an email address or any other substantially similar
18
           identifier that permits direct contact with a Person online, including but not limited to, an
19
           instant messaging user identifier, a voice over internet protocol (VOIP) identifier, or a
20
           video chat identifier.
21
        K. “Operator” means any person who operates a Web site located on the Internet or an
22

23         online service and who Collects or maintains Personal Information from or about the

24         users of or visitors to such Web site or online service, or on whose behalf such
25         information is Collected or maintained, or offers products or services for sale through the
26
           Web site or online service, where such Web site or online service is operated for
27

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1          commercial purposes involving commerce among the several States, or with one (1) or
2          more foreign nations; in any territory of the United States or in the District of Columbia,
3
           or between any such territory and another such territory or any State or foreign nation; or
4
           between the District of Columbia and any State, territory, or foreign nation.
5
        L. Except for purposes of Part IX of this Order, “Parent” includes a legal guardian.
6

7       M. “Person” means any individual, partnership, corporation, trust, estate, cooperative,

8          association, or other entity.

9       N. “Personal Information” means individually identifiable information about an individual
10         Collected online, including:
11
               1. A first and last name;
12
               2. A home or other physical address including street name and name of a city or
13
                   town;
14

15             3. Online Contact Information, as defined in 16 C.F.R. § 312.2;

16             4. A screen or user name where it functions in the same manner as online contact

17                 information, as defined in 16 C.F.R. § 312.2;
18
               5. A telephone number;
19
               6. A Social Security number;
20
               7. A persistent identifier that can be used to recognize a user over time and across
21
                   different Web sites or online services. Such persistent identifier includes, but is
22

23                 not limited to, a customer number held in a cookie, an Internet Protocol (IP)

24                 address, a processor or device serial number, or unique device identifier;
25             8. A photograph, video, or audio file where such file contains a Child’s image or
26
                   voice;
27

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1              9. Geolocation information sufficient to identify street name and name of a city or
2                  town; or
3
               10. Information concerning the Child or the Parents of that Child that the Operator
4
                   Collects online from the Child and combines with an identifier described in this
5
                   section.
6

7       O. “Release Of Personal Information” means the sharing, selling, renting, or transfer of

8          Personal Information to any Third Party.

9       P. “Support For The Internal Operations Of The Web Site or Online Service” means:
10             1. Those activities necessary to:
11
                        a. Maintain or analyze the functioning of the Web site or online service;
12
                        b.Perform network communications;
13
                        c. Authenticate users of, or personalize the content on, the Web site or online
14

15                        service;

16                      d.Serve contextual advertising on the Web site or online service or cap the

17                        frequency of advertising;
18
                        e. Protect the security or integrity of the user, Web site, or online service;
19
                        f. Ensure legal or regulatory compliance; or
20
                        g.Fulfill a request of a Child as permitted by 16 C.F.R. §§ 312.5(c)(3) and
21
                          (4) of COPPA;
22

23             2. So long as the information Collected for the activities listed in paragraphs (1)(a)-

24                 (g) of this definition is not used or Disclosed to contact a specific individual,
25                 including through behavioral advertising, to amass a profile on a specific
26
                   individual, or for any other purpose.
27

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1       Q. “Third Party” means any Person who is not:
2              1. An Operator with respect to the Collection or maintenance of Personal
3
                  Information on the Web site or online service; or
4
               2. A Person who provides support for the internal operations of the Web site or
5
                  online service and who does not use or Disclose information protected under 16
6

7                 C.F.R. Part 312 for any other purpose.

8       R. “Web Site Or Online Service Directed To Children” means a commercial Web site or

9          online service, or portion thereof, that is targeted to Children.
10             1. In determining whether a Web site or online service, or a portion thereof, is
11
                  directed to Children, the Commission will consider its subject matter, visual
12
                  content, use of animated characters or Child-oriented activities and incentives,
13
                  music or other audio content, age of models, presence of Child celebrities or
14

15                celebrities who appeal to Children, language or other characteristics of the Web

16                site or online service, as well as whether advertising promoting or appearing on

17                the Web site or online service is directed to children. The Commission will also
18
                  consider competent and reliable empirical evidence regarding audience
19
                  composition, and evidence regarding the intended audience.
20
               2. A Web site or online service shall be deemed directed to Children when it has
21
                  actual knowledge that it is Collecting Personal Information directly from users of
22

23                another Web Site Or Online Service Directed To Children.

24             3. A Web site or online service that is directed to Children under this criteria set
25                forth in paragraph (1) of this definition, but that does not target Children as its
26
                  primary audience, shall not be deemed directed to Children if it:
27

28
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1                          a. Does not Collect Personal Information from any visitor prior to Collecting
2                           age information; and
3
                           b.Prevents the Collection, use, or Disclosure of Personal Information from
4
                            visitors who identify themselves as under age 13 without first complying
5
                            with the notice and parental consent provisions of 16 C.F.R. Part 312.
6

7              4. A Web site or online service shall not be deemed directed to Children solely

8                  because it refers or links to a commercial Web site or online service directed to

9                  Children by using information location tools, including a directory, index,
10                 reference, pointer, or hypertext link.
11
                                                   ORDER
12
                      I.        INJUNCTION CONCERNING THE COLLECTION
13                                  OF PERSONAL INFORMATION
14         IT IS ORDERED that Defendants and Defendants’ officers, agents, employees, and
15
        attorneys, and all other Persons in active concert or participation with any of them, who
16
        receive actual notice of this Order, whether acting directly or indirectly, in connection with
17
        being an Operator of any Web Site Or Online Service Directed To Children or of any Web
18
19      site or online service with actual knowledge that it is Collecting or maintaining Personal

20      Information from a Child, are hereby permanently restrained and enjoined from violating the

21      Children’s Online Privacy Protection Rule, 16 C.F.R. Part 312, including, but not limited to:
22
        A. Failing to provide sufficient notice on its Web site or online services of the Personal
23
           Information it Collects, or is Collected on their behalf, online from Children, how it uses
24
           such information, its Disclosure practices, and all other required content;
25
        B. Failing to provide sufficient direct notice to Parents of the Personal Information
26
27         Defendants Collect, or Personal Information that has been Collected on Defendants’

28
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1          behalf, online from Children, how it uses such information, its Disclosure practices, and
2          all other required content;
3
        C. Failing to Obtain Verifiable Parental Consent using a method reasonably calculated to
4
           ensure that the Person providing consent is the Child’s Parent, and failing to Obtain
5
           Verifiable Parental Consent for some under-13 users despite Collecting Personal
6

7          Information from them;

8       D. Failing to delete Online Contact Information of the Parent after having failed to Obtain

9          Verifiable Parental Consent; and
10      E. Failing to establish and maintain reasonable procedures to protect the confidentiality,
11
           security, and integrity of Personal Information Collected from Children.
12
           A copy of the Children’s Online Privacy Protection Rule, 16 C.F.R. Part 312, is attached
13
        hereto as appendix A.
14

15                      II.     MONETARY JUDGEMENT FOR CIVIL PENALTY

16         IT IS FURTHER ORDERED that:

17      A. Judgement in the amount of thirty-five thousand dollars ($35,000) is entered in favor of
18
           Plaintiff against Defendants, jointly and severally, as a civil penalty.
19
        B. Defendants are ordered to pay to Plaintiff, by making payment to the Treasurer of the
20
           United States, thirty-five thousand dollars ($35,000), which, as Defendants stipulate, their
21
           undersigned counsel holds in escrow for no purpose other than payment to Plaintiff.
22

23         Such payment must be made within seven (7) days of entry of this Order by electronic

24         fund transfer in accordance with instructions previously provided by a representative of
25         Plaintiff.
26
27

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1                          III.     ADDITIONAL MONETARY PROVISIONS
2          IT IS FURTHER ORDERED that:
3
        A. Defendants relinquish dominion and all legal and equitable right, title, and interest in all
4
           assets transferred pursuant to this Order and may not seek the return of any assets.
5
        B. The facts alleged in the Complaint will be taken as true, without further proof, in any
6

7          subsequent civil litigation by or on behalf of the Commission, including in a proceeding

8          to enforce its rights to any payment or monetary judgement pursuant to this Order.

9       C. Defendants agree that the judgment represents a civil penalty owed to the government of
10         the United States, is not compensation for actual pecuniary loss, and, therefore, as to the
11
           Individual Defendants, it is not subject to discharge under the Bankruptcy Code pursuant
12
           to 11 U.S.C. § 523(a)(7).
13
        D. Defendants acknowledge that their Taxpayer Identification Numbers, which Defendants
14

15         must submit to the Commission, may be used for collecting and reporting on any

16         delinquent amount arising out of this Order, in accordance with 31 U.S.C. §7701.

17                  IV.      MANDATED INFORMATION SECURITY PROGRAM
18
           IT IS FURTHER ORDERED that each Covered Business shall not transfer, sell, share,
19
        collect, maintain, or store Covered Information unless it establishes and implements, and
20
        thereafter maintains, a comprehensive information security program (“Information Security
21
        Program”) that is designed to protect the security, confidentiality, and integrity of such
22

23      Covered Information. To satisfy this requirement, each Covered Business must, at a

24      minimum:
25

26
27

28
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1       A. Document in writing the content, implementation, and maintenance of the Information
2          Security Program;
3
        B. Designate a qualified employee or employees to coordinate and be responsible for the
4
           Information Security Program;
5
        C. Assess and document, at least once every twelve months and promptly following a
6

7          Covered Incident, internal and external risks to the security, confidentiality, or integrity

8          of Covered Information that could result in the unauthorized Disclosure, misuse, loss,

9          alteration, destruction, or other compromise of such information;
10      D. Design, implement, and document safeguards that address the internal and external risks
11
           each Covered Business identifies to the security, confidentiality, or integrity of Covered
12
           Information identified in response to sub-Provision IV.C. Each safeguard shall take into
13
           account the sensitivity of Covered Information at issue;
14

15      E. Assess, at least once every twelve months and promptly following a Covered Incident,

16         the sufficiency of any safeguards in place to address the risks to the security,

17         confidentiality, or integrity of Covered Information. Each such assessment must evaluate
18
           safeguards in each area of relevant operation, including: (1) employee training and
19
           management; (2) information systems, such as network and software design, information
20
           processing, storage, transmission, and disposal; and (3) prevention, detection, and
21
           response to attacks, intrusions, or other systems failures;
22

23      F. Test and monitor the effectiveness of the safeguards at least once every twelve months

24         and promptly following a Covered Incident, and modify the Information Security
25         Program based on the results;
26
27

28
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1       G. Select and retain service providers capable of safeguarding Covered Information they
2          receive from each Covered Business, and contractually require service providers to
3
           implement and maintain safeguards for Covered Information; and
4
        H. Evaluate and adjust the Information Security Program in light of any changes to its
5
           operations or business arrangements, a Covered Incident, or any other circumstances that
6

7          Defendants know or have reason to know may have an impact on the effectiveness of the

8          Information Security Program. At a minimum, Defendants must evaluate the Information

9          Security Program at least once every twelve months.
10          V.       INFORMATION SECURITY ASSESSMENTS BY A THIRD PARTY
11
           IT IS FURTHER ORDERED that in connection with compliance with Provision IV of
12
        this Order titled Mandated Information Security Program, Defendants must obtain initial and
13
        biennial assessments (“Assessments”):
14

15      A. The Assessments must be obtained from a qualified, objective, independent third-party

16         professional (“Assessor”), who uses procedures and standards generally accepted in the

17         profession. The Assessor preparing such Assessments must be: an individual qualified
18
           as a Certified Information System Security Professional (CISSP) or as a Certified
19
           Information Systems Auditor (CISA); an individual holding Global Information
20
           Assurance Certification (GIAC) from the SANS Institute; or a qualified individual or
21
           entity approved by the Associate Director for Enforcement, Bureau of Consumer
22

23         Protection, Federal Trade Commission.

24

25

26
27

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1       B. The reporting period for the Assessments must cover: (1) the first 180 days after the
2          issuance date of the Order for the initial Assessment; and (2) each 2-year period
3
           thereafter for ten (10) years after issuance of the Order for the biennial Assessments.
4
        C. Each Assessment must: (1) determine whether each Covered Business has implemented
5
           and maintained Provision IV of this Order titled Mandated Information Security
6

7          Program; (2) assess the effectiveness of each Covered Business’s implementation and

8          maintenance of sub-Provisions IV.A-H; and (3) identify any gaps or weaknesses in the

9          Information Security Program.
10      D. Each Assessment must be completed within sixty (60) days after the end of the reporting
11
           period to which the Assessment applies. Unless otherwise directed by a Commission
12
           representative in writing, Defendants must submit the initial Assessment to the
13
           Commission within ten (10) days after the Assessment has been completed via email to
14

15         DEbrief@ftc.gov or by overnight courier (not the U.S. Postal Service) to Associate

16         Director for Enforcement, Bureau of Consumer Protection, Federal Trade Commission,

17         600 Pennsylvania Avenue NW, Washington, DC 20580. The subject line must begin:
18
           FTC v. Unixiz, Inc. All subsequent biennial Assessments shall be retained by Defendants
19
           until the order is terminated and provided to the Associate Director for Enforcement
20
           within ten (10) days of request.
21
         VI.     PROHIBITION AGAINST MISREPRESENTATIONS TO THE ASSESSOR
22

23         IT IS FURTHER ORDERED that Defendants, whether acting directly or indirectly, in

24      connection with any Assessment required by Provision V of this Order titled Information
25      Security Assessments by a Third Party, must not misrepresent in any manner, expressly or by
26
        implication, any fact material to the Assessor’s: (1) determination of whether each Covered
27

28
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1       Business has implemented and maintained Provision IV of this Order titled Mandated
2       Information Security Program; (2) assessment of the effectiveness of the implementation and
3
        maintenance of sub-Provisions IV.A-H; or (3) identification of any gaps or weaknesses in the
4
        Information Security Program.
5
                                   VII.     ANNUAL CERTIFICATION
6

7          IT IS FURTHER ORDERED that in connection with compliance with Provision IV of

8       this Order titled Mandated Information Security Program, Defendants shall:

9       A. One year after the issuance date of this Order, and each year thereafter for a period of ten
10         (10) years, provide the Commission with a certification from a senior corporate manager,
11
           or, if no such senior corporate manager exists, a senior officer of each Covered Business
12
           responsible for each Covered Business’s Information Security Program that: (1) each
13
           Covered Business has established, implemented, and maintained the requirements of this
14

15         Order; (2) each Covered Business is not aware of any material noncompliance that has

16         not been (a) corrected or (b) disclosed to the Commission; and (3) includes a brief

17         description of any Covered Incident. The certification must be based on the personal
18
           knowledge of the senior corporate manager, senior officer, or subject matter experts upon
19
           whom the senior corporate manager or senior officer reasonably relies in making the
20
           certification.
21
        B. Unless otherwise directed by a Commission representative in writing, submit all annual
22

23         certifications to the Commission pursuant to this Order via email to DEbrief@ftc.gov or

24         by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement,
25         Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue
26
           NW, Washington, DC 20580. The subject line must begin: FTC v. Unixiz, Inc.
27

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1                               VIII.   ORDER ACKNOWLEDGMENTS
2          IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this
3
        Order:
4
        A. Each Defendant, within seven (7) days of entry of this Order, must submit to the
5
           Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.
6

7       B. For 5 years after entry of this Order, each Individual Defendant for any business that such

8          Defendant, individually or collectively with any other Defendants, is the majority owner

9          or controls directly or indirectly, and each Corporate Defendant, must deliver a copy of
10         this Order to: (1) all principals, officers, directors, and LLC managers and members; (2)
11
           all employees having managerial responsibilities for conduct related to the subject matter
12
           of the Order and all agents and representatives who participate in conduct related to the
13
           subject matter of the Order; and (3) any business entity resulting from any change in
14

15         structure as set forth in the Section titled Compliance Reporting. Delivery must occur

16         within seven (7) days of entry of this Order for current personnel. For all others, delivery

17         must occur before they assume their responsibilities.
18
        C. From each individual or entity to which a Defendant delivered a copy of this Order, that
19
           Defendant must obtain, within thirty (30) days, a signed and dated acknowledgment of
20
           receipt of this Order.
21

22

23

24

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1                                IX.     COMPLIANCE REPORTING
2          IT IS FURTHER ORDERED that Defendants make timely submissions to the
3
        Commission:
4
        A. One year after entry of this Order, each Defendant must submit a compliance report,
5
           sworn under penalty of perjury.
6

7                 1. Each Defendant must: (a) identify the primary physical, postal, and email

8                 address and telephone number, as designated points of contact, which

9                 representatives of the Commission and Plaintiff may use to communicate with
10                Defendant; (b) identify all of that Defendant’s businesses by all of their names,
11
                  telephone numbers, and physical, postal, email, and Internet addresses; (c)
12
                  describe the activities of each business, including the goods and services offered,
13
                  the means of advertising, marketing, and sales, and the involvement of any other
14

15                Defendant (which Individual Defendants must describe if they know or should

16                know due to their own involvement); (d) describe in detail whether and how that

17                Defendant is in compliance with each Section of this Order; (e) provide a copy of
18
                  each different version of any privacy notice posted on each Web site or online
19
                  service operated by Defendants or sent to Parents of Children that register on each
20
                  Web site or online service; (f) describe in detail the methods used to Obtain
21
                  Verifiable Parental Consent prior to any Collection, use, and/or Disclosure of
22

23                Personal Information from Children through any Web site or online service; (g)

24                describe in detail the means provided for Parents to review the Personal
25                Information Collected from their Children and to refuse to permit its further use
26
27

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1                  or maintenance; and (h) provide a copy of each Order Acknowledgment obtained
2                  pursuant to this Order, unless previously submitted to the Commission.
3
                   2. Additionally, each Individual Defendant must: (a) identify all telephone
4
                   numbers and all physical, postal, email and Internet addresses, including all
5
                   residences; (b) identify all business activities, including any business for which
6

7                  such Defendant performs services whether as an employee or otherwise and any

8                  entity in which such Defendant has any ownership interest; and (c) describe in

9                  detail such Defendant’s involvement in each such business, including title, role,
10                 responsibilities, participation, authority, control, and any ownership.
11
        B. For ten (10) years after entry of this Order, each Defendant must submit a compliance
12
           notice, sworn under penalty of perjury, within fourteen (14) days of any change in the
13
           following:
14

15                 1. Each Defendant must report any change in: (a) any designated point of contact;

16                 or (b) the structure of any Corporate Defendant or any entity that Defendant has
17                 any ownership interest in or controls directly or indirectly that may affect
18
                   compliance obligations arising under this Order, including: creation, merger, sale,
19
                   or dissolution of the entity or any subsidiary, parent, or affiliate that engages in
20
                   any acts or practices subject to this Order.
21

22                 2. Additionally, each Individual Defendant must report any change in: (a) name,

23                 including aliases or fictitious name, or residence address; or (b) title or role in any

24                 business activity, including any business for which such Defendant performs
25                 services whether as an employee or otherwise and any entity in which such
26
27

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1                  Defendant has any ownership interest, and identify the name, physical address,
2                  and any Internet address of the business or entity.
3
        C. Each Defendant must submit to the Commission notice of the filing of any bankruptcy
4
           petition, insolvency proceeding, or similar proceeding by or against such Defendant
5
           within fourteen (14) days of its filing.
6

7       D. Any submission to the Commission required by this Order to be sworn under penalty of

8          perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by

9          concluding: “I declare under penalty of perjury under the laws of the United States of
10         America that the foregoing is true and correct. Executed on: _____” and supplying the
11
           date, signatory’s full name, title (if applicable), and signature.
12
        E. Unless otherwise directed by a Commission representative in writing, all submissions to
13
           the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by
14

15         overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,

16         Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue

17         NW, Washington, DC 20580. The subject line must begin: FTC v. Unixiz, Inc.
18
                                        X.       RECORDKEEPING
19
           IT IS FURTHER ORDERED that Defendants must create certain records for (ten) 10
20
        years after entry of the Order, and retain each such record for (five) 5 years. Specifically,
21
        Corporate Defendant in connection with any Web site or online service and each Individual
22

23      Defendant for any business that such Defendant, individually or collectively with any other

24      Defendants, is a majority owner or controls directly or indirectly, must create and retain the
25      following records:
26
        A. accounting records showing the revenues from all goods or services sold;
27

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1       B. personnel records showing, for each Person providing services, whether as an employee
2          or otherwise, that Person’s: name; addresses; telephone numbers; job title or position;
3
           dates of service; and (if applicable) the reason for termination;
4
        C. records of all consumer complaints concerning the subject matter of the Order, whether
5
           received directly or indirectly, such as through a Third Party, and any response;
6

7       D. all records necessary to demonstrate full compliance with each provision of this Order,

8          including all submissions to the Commission; and

9       E. a copy of each materially different form, page, or screen created, maintained, or
10         otherwise provided by Defendants through which Personal Information is Collected
11
           through any Web site or online service, and a copy of each materially different document
12
           containing any representation regarding Collection, use, and Disclosure practices
13
           pertaining to Personal Information Collected through such Web site or online service.
14

15         Each webpage copy shall be accompanied by the URL of the webpage where the material

16         was posted online. Electronic copies shall include all text and graphic files, audio scripts,

17         and other computer files used in presenting information on the Internet.
18
                                 XI.      COMPLIANCE MONITORING
19
           IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance
20
        with this Order, including any failure to transfer any assets as required by this Order:
21
        A. Within fourteen (14) days of receipt of a written request from a representative of the
22

23         Commission or Plaintiff, each Defendant must: submit additional compliance reports or

24         other requested information, which must be sworn under penalty of perjury; appear for
25         depositions; and produce documents for inspection and copying. The Commission and
26
           Plaintiff are also authorized to obtain discovery, without further leave of court, using any
27

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1          of the procedures prescribed by Federal Rules of Civil Procedure 29, 30 (including
2          telephonic depositions), 31, 33, 34, 36, 45, and 69.
3
        B. For matters concerning this Order, the Commission and Plaintiff are authorized to
4
           communicate directly with each Defendant. Defendant must permit representatives of the
5
           Commission and Plaintiff to interview any employee or other Person affiliated with any
6

7          Defendant who has agreed to such an interview. The Person interviewed may have

8          counsel present.

9       C. The Commission and Plaintiff may use all other lawful means, including posing, through
10         its representatives as consumers, suppliers, or other individuals or entities, to Defendants
11
           or any individual or entity affiliated with Defendants, without the necessity of
12
           identification or prior notice. Nothing in this Order limits the Commission’s lawful use
13
           of compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49,
14

15         57b-1.

16      D. Upon written request from a representative of the Commission or Plaintiff , any consumer

17         reporting agency must furnish consumer reports concerning Individual Defendants,
18
           pursuant to Section 604(1) of the Fair Credit Reporting Act, 15 U.S.C. §1681b(a)(1).
19
                               XII.     RETENTION OF JURISDICTION
20
           IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for
21
        purposes of construction, modification, and enforcement of this Order.
22

23
        SO ORDERED this _______ day of _________________, 2019.
24

25

26
                                                          NATHANAEL M. COUSINS
27                                                        UNITED STATES MAGISTRATE JUDGE

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1
     SO STIPULATED AND AGREED:
2

3    FOR PLAINTIFF UNITED STATES OF AMERICA
4    JOSEPH H. HUNT
     Assistant Attorney General
5    Civil Division
6
     GUSTAV W. EYLER
7    Acting Director

8              /S/
     KENDRACK D. LEWIS
9    Trial Attorney
10   Consumer Protection Branch
     U.S. Department of Justice, Civil Division
11   P.O. Box 386
     Washington, DC 20044-0386
12   Tel: (202) 353-0386
     kendrack.lewis@usdoj.gov
13

14   FOR THE FEDERAL TRADE COMMISSION
15
     MANEESHA MITHAL
16   Associate Director
     Division of Privacy and Identity Protection
17
     ROBERT SCHOSHINSKI
18   Assistant Director
19   Division of Privacy and Identity Protection

20           /S/
     MONIQUE F. EINHORN
21   RYAN M. MEHM
     Attorneys
22
     Division of Privacy and Identity Protection
23   Federal Trade Commission
     600 Pennsylvania Avenue NW
24   Washington, DC 20580
     Tel: (202) 326-2575
25   Fax: (202) 326-3062
     meinhorn@ftc.gov
26
     rmehm@ftc.gov
27

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     PROPOSED STIPULATED ORDER, Case No. 5:19-cv-2222;   22
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 1

 2                                                                Date: / 8/3   /I�
       TA Y BRANDENBUR
 3   ZwillGen PLLC
     1900 M Street, NW
 4   Suite 250
     Washington, DC 20036
 5   Tel: (202) 706-5220
     stacey@zwillgen.com
6
     Coun el for Unixiz, J. and Zhijun Liu and Xichen Zhang
                                                               /d-/3       l�
                                                                       I
 7

8
     ZwillGen PLLC
9    1900 M Street, NW
     Suite 250
10   Washington, DC 20036
     Tel: (202) 706-5213
11   Kandi@zwillgen.com
     Counselfor Unixiz, Inc. and Zhijun Liu and Xichen Zhang
12

13

14   DEFENDANTS
15                                                                         12/01/2018
                                                                  Date: ----------
     ZHIJUNLIU
16
     Individually, and as CEO and CFO ofUnixiz, Inc.
17     7CirAe1�                                                            12/01/2018
                                                                  Date: ----------
18   XICHEN ZHANG
     Individually, and as Secretary of Unixiz, Inc.
19

20
21

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